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         Exhibit A
(Communications between counsel for Plaintiff and
                 Defendants)
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                     The Law Office of Stacy Scheff

                                    September 27, 2022


Mark Gutierrez, Warden
VIA counsel email: Denise.Faulk@usdoj.gov
RE: Keith Raniere, Register Number: 57005-177


Dear Warden Gutierrez:
       I am writing regarding my client, Keith Raniere, who is confined at the United
States Penitentiary, Tucson, Arizona.
       On July 26, 2022, Mr. Raniere was assaulted by a fellow inmate in the dining hall.
He was the victim of an unprovoked attack, yet was initially charged for a disciplinary
infraction, which has since been expunged.
       As of the date of this letter, Mr. Raniere remains in Special Housing Unit (SHU),
where he has spent 23 hours of each day in his cell for the past two months.
       Mr. Raniere and I continue to be concerned about how his confinement poses
issues concerning his mental health, physical health and access to attorneys and the
courts, and fair treatment. I saw him yesterday, and viewed the bruises and scars left
from the leg chains that he is forced to wear in legal visits.
       As per my email communications these past weeks, I urge you to return my client
to the general population at USP Tucson as he has requested.
       Thank you for reviewing this matter and I look forward to your timely response.


Sincerely,




Stacy Scheff




P.O. Box 40611, Tucson AZ 85717-0611 ❈ Ph. (520) 471-8333 ❈ Fax (520) 300-8033 ❈ Stacy@ScheffLaw.com

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